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    A former Boson ballerina and her husband have been accused of
    sexually abusing young dancers, according to a federal lawsuit
    By Melissa Alonso, CNN

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              Boson Ballet corps dancer Dusy Button works with other dancers on a piece she choreographed for her
              world premiere, on Augus 28, 2013. Pat Greenhouse/The Boson Globe/Getty Images



    (CNN) — Former Boson Ballet sar Dusy Button and her husband, Mitchell Taylor Button, are accused of
    sexually abusing several dancers, including a minor, according to a federal lawsuit.

    Taylor Button was accused over the summer but an updated complaint fled on Thursday also named his wife.

    Dusy Button was a ballerina for the Boson Ballet from 2012 to 2017, according to the company, and has
    since then cultivated a large Insagram following by highlighting her coveted international workshops, maser
    classes and dance numbers.



    A complaint fled in July in the US Disrict Court in Nevada claimed Taylor Button “has exploited his position
    of power and infuence in the dance world to sexually abuse young dancers across the country.”

    After Taylor Button moved to dismiss the lawsuit and denied the allegations in court flings, an updated
    complaint fled with the court las week named both Dusy Button and her husband as defendants in the
    abuse.

    At leas fve dancers, some of whom were mentored by Taylor Button, and Dusy Button at times, say he
    sexually abused them, at times with his wife’s participation, court documents show.


    What the dancers allege
    Boson Ballet dancer Sage Humphries and dancer Gina Menichino fled the initial complaint agains Taylor


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    Button, alleging that he manipulated and groomed them for sexual assault for years.

    Menichino took dance lessons from Taylor Button when she was 13, according to the complaint.

    Taylor Button allegedly sexually assaulted Menichino on two occasions in 2010 when they were sharing a
    blanket while watching a movie with other dance sudents, according to the complaint.

    When Taylor Button traveled out of sate, he “would continue to communicate with Gina, including by sending
    and soliciting sexually explicit photos and videos,” said the complaint.

    “We look forward to clearing both of their names in court,” attorney Marc John Randazza, who represents the
    Buttons, told CNN. “We are not trying this matter in the press.”

    Randazza fled a motion to dismiss the case denying the allegations, citing Nevada’s satute of limitations,
    court documents show.

    Randazza also said allegations made in the complaint “were written to make the press interesed in this case
    and to enfame the anger of anyone who reads the Complaint,” his motion said.

    A judge denied Randazza’s motion to toss the case since it was directed at the original complaint. Other
    accusers had sepped forward since the motion was fled.

    “Our position remains the same,” Randazza told CNN regarding his motion to dismiss.

    The lawsuit alleges that on multiple occasions, Dusy Button held down Humphries so she could not move
    while her husband penetrated her without her consent.

    According to the lawsuit, the Buttons engaged in sex trafcking because they enticed Humphries “to cross
    sate lines with the Buttons by using threats, intimidation, and the pretense that they would help further her
    career and professional development, in exchange for engaging in sex acts.”

    Another dancer, identifed as Jane Doe 100, was a minor in the care of the Buttons when they allegedly
    sexually assaulted her in “a room that had a mattress on the foor and an arsenal of guns hanging on the
    wall,” the complaint said.

    Sigrid McCawley, attorney for plaintifs Sage Humphries, Gina Menichino, Rosemarie DeAngelo, Danielle
    Gutierrez and Jane Doe 100, sent a satement to CNN regarding the lawsuit agains the Buttons.

    “Taylor and Dusy Button can no longer use the dance world to perpetrate their criminal behavior agains
    young girls. Brave women are now coming forward and saying this mus sop.”

    “Boson Ballet supports Sage Humphries who is bravely coming forward, sharing her experience to protect
    others, and seeking accountability and jusice,” the dance company said in a satement, but declined to
    comment specifcally on the pending litigation.


    CNN’s Jennifer Henderson contributed to this report.


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